     Case: 1:13-cv-07865 Document #: 22 Filed: 03/05/14 Page 1 of 3 PageID #:67



                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

ABSOLUTE ARCHITECTURE P.C., an )
Illinois corporation, individually and on )
behalf of all others similarly situated,       )
                                               )       Case No. 13-cv-7865
                Plaintiff,                     )
                                               )       Hon. Sharon Johnson Coleman
        v.                                     )
                                               )       Magistrate Judge Michael T. Mason
GABBY INVESTMENTS, LLC, a Delaware )
limited liability company, 50.COM INC., a )
New Jersey corporation, and RICHARD )
GABRIEL,        JEAN       GABRIEL       A/K/A )
50.COM,        and     ASHLEY         GABRIEL, )
individuals,                                   )
                                               )
                Defendants.                    )

                          NOTICE OF VOLUNTARY DISMISSAL

       Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Plaintiff hereby

dismisses this action with prejudice as to Plaintiff’s individual claims, and without prejudice as

to the class claims.




Date: March 5, 2014                                 Respectfully submitted,

                                                    ABSOLUTE          ARCHITECTURE     P.C.,
                                                    individually and on behalf of all others
                                                    similarly situated



                                                    By: ____________________________
                                                         One of the Attorneys for Plaintiff
                                                         And the Proposed Putative Class
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                                 CERTIFICATE OF SERVICE

          The undersigned, an attorney, certifies that a true and correct copy of the foregoing

Plaintiff’s Notice of Voluntary Dismissal was filed this 5th day of March, 2014, via the

electronic filing system of the Northern District of Illinois, which will automatically serve all

counsel of record.




                                                     _________________________
                                                           Joseph J. Siprut



4853-0956-0601, v. 1
